Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 1 of 31

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK.
Xx

 

JOHN RAPILLO AND HEIDI RAPILLO

Plaintiffs,

. FELED BY ECF
-against-

BARRY FINGERHUT, DAVID HOLZER,
FINGERHUT-HOLZER PARTNERS LLC,
FINGERHUT-HOLZER EQUITIES, INC.,
FINGERHUT HOLZER, INC., FINGERHUT-
HOLZER FUND L.P., GEO-CAPITAL
PARTNERS, INC., FINGERHUT-HOLZER
THE WAVERYLY I, LLC., FINGERHUT-
HOLZER THE WAVERYLY II, LLC.

09-CV-10429 (VSB)

Defendants.
nneewen wae x

 

JOHN RAPILLO AND HEIDI RAPILLO’s MEMORANDUM OF LAW IN
OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

MARSHALL, CONWAY,

& BRADLEY, P.C.

45 Broadway

New York, NY 10038

(212) 619-4444

Attorneys for Plaintiffs

John Rapillo and Heidi Rapitlo
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 2 of 31

TABLE OF CONTENTS

PRELIMINARY STATEMENT ..0......c.cccccecececcaeseeesescseeeeeccarcavereteueensenevenecgaesessets ii

TABLE OF AUTHORITIES

APPLICABLE LEGAL STANDARD..0. oe cee ceccccccasecesece ese sere cen tcuvesvaserarsertsesavstsasssseseS

ARGUMENT

1.

Seen e eee E neat Ente EE een SEE EE EASE O DEORE SPARS EEE EES EERE EYAE DRS ERED EERE DEE DG AD ENEEESEGESEES 8
THERE ARE SIGNIFICANT QUESTIONS OF FACT WHICH PRECLUDE
SUMMARY JUDGMENT . 0.0.0... ccccccccceecec sue veesasccececsneveneecuereaesuesaness 8
A. Defendants engaged in an active partnership. .......0.....c.ccccceceeeeesreeee 9

B, Fingerhut will not be able to escape personal liability by hiding behind

corporate veil of Fingerhut/Holzer LLC... 0c ce cecececnceveneevsecene 10
C. Plaintiffs have valid claim under the theory of respondeat

SUPCFIOL occ cece eee e ne renee ete cee eee eee ea seta tad ea tent nantes sa eeaeeteneneues 1]
D. Plaintiffs has a valid claim under the controlling

Persons thEOTY....... cece cece eee see cen eeeescenerensnseseaeacuvavaesrenens 13

Il. PLAINTIFFS HAVE A VALID CLAIM ALLEGING FRAUD UNDER
SECTION 10B AND RULE 10b-5.......... ee nena e bes b ner ener terete ee eee a eae 15
IN. PLAINTIFFS HAVE A VALID CLAIM ALLEGING FRAUD UNDER THE
COMMON LAW OF THE STATE OF NEW YORK ..........cccccccscesesueeeecees 17
IV. FINGERHUT AIDED AND ABETTED THE FRAUD PERPETRATED BY CO-
CONSPIRATOR HOLZER... ccccecccccscceetee sees eee eeeteseeensevensueaucuees sens 18
V. PLAINTIFFS HAVE A VALID CLAIM UNDER THE INVESTMENT
ADVISERS ACT. 0... ccc ccec ccc eenee ete te eee ee esate bee ee ese easenea teen beuueesavanas 19
VI. PLAINTIFFS HAVE A VALID CLAIM FOR BREACH OF FIDUCIARY
DUTY occ ce cee eer e renee e nee neers ate ee es esn sae ag east tea en eEa ea tea ea eta Seta pees 21
VI. PLAINTIFFS HAVE A VALID CLAIM FOR CONVERSION.............000008 23
CONCLUSION... cccccccc cece een ec eee n eee tee ee eer eee ees ee eanesee sneer ee ssaeatupesnereraratanes 24
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 3 of 31

PRELIMINARY STATEMENT

Plaintiffs, John Rapillo and Heidi Rapillo (collectively the “Rapillos”), respectfully
submit this memorandum of law in opposition to defendants’ Barry Fingerhut (“Fingerhut”),
Fingerhut-Holzer Partners LLC (“Fingerhut/Holzer LLC” or “LLC”), Fingerhut-Holzer Equities,
Inc., Fingerhut Holzer, Inc., Fingerhut-Holzer Fund L.P., Geo-Capital Partners, Inc. (“Geo-
Capital”), Fingerhut-Holzer The Waverly I, LLC. (“Waverly I”), Fingerhut-Holzer The Waverly
Il, LLC.’s (“Waverly IT’) (collectively “Defendants”) motion for summary judgment against the
Rapillos.

In this action, the Rapillos seek damages incurred as a result of the fraud committed by
the defendants. Specifically, the Rapillos have filed a claim under the following causes of action:
Rules 10b and 10b-5 of the Exchange Act; common law fraud, Investment Advisers Act, breach
of a fiduciary duty and conversion. See R. Conway, Dec. Ex. 1; see also R, Conway, Dec. Ex. 2;
R. Conway, Dec. Ex. 3.

This memorandum is submitted in opposition to defendants’ motion for summary
judgment. The essence of defendants’ motion is that Fingerhut and Fingerhut/Holzer LLC was in
no way complicit with the fraud perpetrated by Holzer. However, as this memorandum will
show, Fingerhut and Holzer are parties who are equally at fault for the fraud committed against
the Rapillos. Defendants’ arguments are specious, based on mere conjecture, and raise
significant questions of fact. Fingerhut and Holzer admit to being partners who operated
Fingerhut/Holzer LLC together as an investment business. It is further conceded by defendants

that the Rapillos’ money was stolen and converted by the defendants.

li
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 4 of 31

TABLE OF AUTHORITIES

CASES
Abrahamson v. Fleschner, 568 F.2d 862 (2d Cir. 1977). .......ccccececeesececeeceneceeatseeeeenee 20)
Alvarez v. Prospect Hosp., 68 N.Y .2d 320, 508 N.Y.S.2d 923 (1986) ...... 0c cece c ec ceee sense en es 8
Anderson v, Liberty Lobby, Inc., 477 U.S. 242, 106 S.Ct.

2505, 91 LEd.2d 202 (1986)... eee Ene EEE Ee p EE eg endae dees 8
Bankamerica Corp., 219 F.3d 79 (2d Cir.2000).........cc cece cc cece sete eeeeeseeeeaeeeeeeen sense nesags 18
Bogart v. Shearson Lehman Bros., No. 91 CIV. 1036

(LBS)NG, 1993 WL 33643, (S.DINCY., 1993) cece cec tee ee eee eeeeeeaeneeaee te en aeeed 19, 20
Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986)... 0.0.0... 8
Ciccone v, Hersh, 530 F. Supp. 2d 574, 577 (S.D.N.Y. 2008)

aff'd, 320 F. App’x 48 (2d Cir. 2009) oo. ce eee e ce te ce cece neces eee eee nena ene eeeaaenes 22
Cromer Fin, Ltd. v. Berger, 137 F. Supp. 2d 452, 470 (S.D.NLY. 2001)... ccc eee eee AS
Dallas Aerospace, Inc. v, CIS Air Corp., 352 F.3d 775 (2d Civ.2003)..... cc ccccecceeeeeeeneeee snes 8
Donahue v. Windsor Locks Bd. of Fire Commissioners, 834 F.2d 54 (2d Cir. 1987). eee 8
Esplin v. Hirschi, 402 F.2d 94, 103 (10 Cir. 1968), cert. denied, 394 U.S. 928 (1969)............ 20
Flickinger v. Harold C. Brown & Co., 947 F.2d 595 (2d Cir.1991) oie ce eeee nese ee eee neees 21
Freeman vy Complex Computing Co., inc., 119 F.3d 1044 (2d Cir, 1997). eee e eas 11
Gordon v. Burr, 506 F.2d 1080, 1085 (2d Cir.1974). 0. eee ce cece ee enecceeseeeeteeeeeneeeereteeas 14
Guilder v. Corinth Constr. Corp., 235 AD2d 619, 651 NYS2d 706, 707 (3d Dept 1997).......11
Hateley v. SEC, 8 F.3d 653, 656 (9th Cir.1993) oo. cece erent eee tener rene eee aeeens 14
Herpich v. Wallace, 430 F.2d 792, 815 (Sth Cir, 1970) occ cs cee ee ee ener eee e ner ee a ena esensenen 20
Idrees v. American University of the Caribbean, 546

F.Supp. 1342, 1346 (S.D.N.Y.1982). eect eee e arco ete nent ea tat en enenee ene eae 18
Isik Jewelry v. Mars Media, Inc., 418 F. Supp. 2d 112, 129-30 (E.D.NLY. 2005)............ 11, 12
ITEL Containers Int'l Corp. v. Atlanttrafik Express Service, Ltd.,

909 F.2d 698, 701 (2d Cir.1989) oo cece cece eee e renee eens eee een en sere saaesieee enna es enes 12
Kassover vy. UBS AG, 619 F. Supp. 2d 28, 32-33 (S.D.NLY. 2008) vo... cccaceceee seco neeeeeeee es 19
Kidz Cloz, Inc. v. Officially For Kids, Inc., No. 00 CIV, 6270 (DC),

2002 WL 392291, (S.D.NLY., 2002) 00... ce cece eee ee cence eee ee eee ere ee eben eee entra eee ta eeer nea e ty 9

iii
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 5 of 31

King Cnty., Washington v. IKB Deutsche Industriebank AG, 7

51 F. Supp. 2d 652, 663 (S.D.N.Y. 2010) 000. ccc ee ececeeseeetereeeenteeaeaeeeeupatutauseeaes 18
Lanza v, Drexel & Co., 479 F.2d 1277, 1306 (2d Cir. 1973) (en banc)...........ccceeeee eee 15
Ledy v. Wilson, 38 AD3d 214, 215 (1st Dept 2007) .... 0c cc cceccrecerersseeeteraeeens 10
Litton Indus., Inc. v. Lehman Bros. Kuhn Loeb, 767 F Supp.

1220, 1231 (S.D.NVY. 1991) 0. ccc cence eae eceeeesesaeeeeneeeeneaeseenestsasatneeregtnreas 21
Marbury Mgmt. Inc. v. Kohn, 629 F.2d 705, 711 (2d Cir.1980) 20.0.0. 11, 13, 14
Miller v. Grigoli, 712 F. Supp. 1087, 1095 (S.D.NLY. 1989) oo... ccc cc ceesces ec eanenen sees 18
Moses v. Burgin, 445 F.2d 369 (1 Cir.), cert. denied, 404 U.S. 994 (1971) ooo. eeeeeeeee 20
Nigerian Nat'l Petroleum Corp. v. Citibank, N.A., No. 98 Civ. 4960(MBM), 1999 WL 558141,
(S.DINVY. 1999) 2c cece cere cent eee e seen eae ea eae renee ene e ene te ene eeberseseneetaensaesnitenes 19
N. Am. Knitting Mills, Inc. v. Int'l Women's Apparel, Inc., No. 99

CIV. 4643 (LAP), 2000 WL 1290608, (S.D.N.Y. 2000)... 0.0.00. cc ccesececeepeeeeaserenernenes 10
Novak v. Kasaks, 216 F.3d 300 (2d Cir, 2000) 00.0... ..ccccccececccceseaeeceeveeeuveeeesvnenss 15, 16
Overton v. N.Y. State Div. of Military & Naval Affairs, 373 F.3d 83 (2d Cir.2004)......0...... 8
Palmetto Partners, L.P. v. AJW Qualified Partners, LLC, 83 A.D.3d 804,

921 N.Y.S.2d 260, (2OT1) 0... eee cece nec e ee cee nese ease seen en eneeeneneeseseeeueneeenensinees 21
Rodriguez v. Doral Mortgage Corp., 57 F.3d 1168, 1172 (1st Cir.1995) 200.0... cece eee es 12

Rolf y. Blyth, Eastman Dillon & Co,, 570 F.2d 38, (2d Cir. 978)
amended sub nom. Rolf. Blyth Eastman Dillon & Co., No. 77-7104, 1978

WL 4098 (2d Cir, May 22, 1978)... occ cccecesececececeeeeeseseeeeereneneatuseseeiegenened 15, 16, 18

Rut v. Young Adult Inst., Ine., 74 A.D.3d 776, 901 N.Y.S.2d 715 (2010)... cece 21

S.E.C. v. First Jersey Sec., Inc., 101 F.3d 1450, 1472-73 (2d Cir. 1996) «200.0... 14

SEC Investor Prot. Corp. v. Stratton Oakmont, Inc., 234 B.R. 293

(Bankr. S.D.N.Y. 1999) ..ccceccccccscscececevevevevevevevecevs sestetesvevesevevevavevavecevassseee 10, 16

SEC v. Mgmt. Dynamics, Inc., 515 F.2d 801, 812 (2d Cir.1975). 0... cece eteee sect eeeeuees 13

Simon v. Weaver, 327 F. Supp. 2d 258, 262 (S.D.N.Y. 2004)... 0. c cece cece esse aeecen eee eees 15

State Street Co. v. Ernst, 278 N.Y. 104, 112, 15 N.E.2d 416, 418-19 (1938)... ee 18

Tokio Marine & Fire Ins. Co. v. Fed. Marine Terminal, Inc., 397 F. Supp. 2d 530, 533-34 (S.D.NLY.
ZOOS) occ cece ce career n rere eee EEE A EA ER EEE LA ES; S ESE DE OEE SSOEO SESS GSR EEO SEEEESE SEER OEG REESE ES 8

Vigilant Insurance Company of America v. Housing Authority of the City of

iv
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 6 of 31

El Paso, Texas, 87 N.Y .2d 36, 44, 637 N.Y.S.2d 342, 660 N.E.2d 1121 (1995)... 23

Williams v. R.H, Donnelley, Corp., 368 F.3d 123, 126 (2d Cir.2004) ....0.0. ccc cee ces ecaeaeee 8

STATUTES

Fed.Rules Civ. Proc. 15(D).. ccc cccescecceteteneetesesenesesseabeeueeecuetavsevevseneeatvenseacenes 13

Fed.R.Civ.P. 56
Investment Advisers Act of 1940, §§ 206(1—-3), 209(e) as amended 15 U.S.C.A.

$§ 80b-6(1~3), S0b-9(€). cece cece cee ee eerste eee teee cu eubeeentaeeesneaeessensnsaneneuues 20
Securities Exchange Act of 1934, § 10(b), 15 U.S.C.A. § 78j(b); 17 C.F.R. § 240,10b-5.....15
Securities Exchange Act of 1934, § 20(a), 15 U.S.C.A. § 78t(a).17 C.F.R. § 240.12b-2.......13
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 7 of 31

RELEVANT FACTS

The plaintiffs, Heidi and John Rapillo, are residents of Westchester County, in the state
of New York. See R. Conway, Dec. Ex. 1. John Rapillo is a disabled interior designer, and Heidi
Rapillo is a hospital admissions officer. See R. Conway, Dec. Ex. 6. John Rapillo was the interior
decorator for David Holzer and his wife Leslie Holzer prior to the events that create the basis for
the Rapillos claim against the defendants. See R. Conway, Dec. Ex. 5 at 67. As a result of their
working together Holzer befriended the Rapillos, and ultimately defrauded the Rapiilos through
a series of investments made with the entity defendants. See R. Conway, Dec. Ex. 5 at 67-68.

Barry Holzer has an extensive history in the financial industry, including a twenty-eight
year career at Brean Murray Foster Securities as the head of over-the-counter trading, See R.
Conway, Dec. Ex. 5 at 10-13. During his time at Breen Murray, he met the co-defendant, Barry
Fingerhut, who was a partner at GEO Capital. See R. Conway, Dec. Ex. 5 at 17. Ultimately
Fingerhut and Holzer determined to start a business together named Fingerhut Holzer Partners
LLC located at 399 Park Avenue in the City and State of New York. See R. Conway, Dec. Ex. 4
at 29; R. Conway, Dec. Ex. 5 89-90. Both Fingerhut and Holzer stated that the LLC was to be a
partnership, wherein each individual contributed to the LLC through their investment expertise.
See R. Conway, Dec. Ex. 4 11-14, 24-25; R. Conway, Dec. Ex. 5 at 37.

Fingerhut was responsible for finding and promoting potential investment ideas. This
includes all of the properties invested in by the Rapillos. See R. Conway, Dec. Ex, 4 at 27-29,
Additionally, Fingerhut solicited clients to invest in these properties through the LLC. See R.
Conway, Dec. Ex. 5 at 45. Specifically, when Fingerhut was asked about the division, he stated

that Holzer did the trading while he would be the investor, See R. Conway, Dec. Ex. 4 at 27-29,
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 8 of 31

Despite the various entity names Fingerhut concedes that all the entity defendants are essentially
the same. fd. at 50.

Each of the parties had an equal division of interest in the LLC, however, the initial
investment to form the partnership was not equal. See R. Conway, Dec. Ex. 4 at 47, 54; R.
Conway, Dec. Ex. 5 at 37; R. Conway, Dec. Ex. 19. Fingerhut invested substantially more than
Holzer in the formation of the LLC, evidenced by the balance sheet which shows the
contributions to the LLC, Fingerhut contributed over $17,000,000; while Holzer contributed
almost nothing. See R. Conway, Dec. Ex. 4 at 47. Regarding the inequity, Fingerhut stated: “I
didn’t ask him for a specific number” and the partnership took legitimate business form. id.

Together, Fingerhut and Holzer participated in a clandestine effort to purchase land in the
Hudson Valley that would be consolidated and packaged for parties with international funding.
See R. Conway, Dec. Ex. 4 at 104-114; R. Conway, Dec. Ex. 14; R. Conway, Dec. Ex. 15. Asa
result, 12,000,000.00 was transferred by Fingerhut into the organization and Holzer without any
documentation or proof of transfer, which Fingerhut claims is a “big mistake.” See R. Conway,
Dec. Ex. 4 at 82, 86, 103-104. Further, Fingerhut directly aided in Holzer’s fraud by lending
Holzer substantial amounts of money which then allowed Holzer to lure potential clients using
this facade of wealth.

It is critical to note that during the prosecution of David Holzer, the majority of the
records showing the fraud were seized by the District Attorneys Office of the County of New
York. Despite repeated efforts and requests by this office the District Attorney has refused to
turn over any of these records.

Fingerhut and Holzer were united in the illicit use of those funds for purposes that are, to

this date, unclear. Fingerhut readily admits in that a failure to create a record of a movement of
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 9 of 31

money was a “huge mistake.” See R. Conway, Dec. Ex. 4 at 82, 111. Further, it is admitted that
the LLC was losing a significant amount of money. See R. Conway, Dec. Ex. 4 at 112-113.
Ultimately, it is uncontested that Holzer defrauded three different families of millions of dollars
in an effort to reach a contributory level that was more equal to Fingerhut. R. Conway, Dec, Ex.
5 at 117.
THE PLAINTIFFS

In 2001, John Rapillo sustained a disastrous injury while working as an interior designer,
which resulted in severe fractures of the neck leaving him in a halo for months and burdening
him with continuous pain and disability. R. Conway, Dec. Ex. 6 at 2. Ultimately, Rapillo
engaged the offices of Marshall Conway and Bradley P.C. to prosecute a personal injury which
eventually resulted in a settlement sum of $2,500.000.00. See R. Conway, Dec. Ex. 6 at 4a.
David Holzer became aware of this award, and invited the Rapillos to participate in the
Fingerhut/Holzer LLC. See R. Conway, Dec. Ex. 4 at 68-70; R. Conway, Dec. Ex. 6 at 4a. While
Holzer was luring the Rapillos into the LLC, he was also taking substantial funds from other
parties including Michael and Barbara Zachman who lost $1,773,283.33 and Mr. Barry Passar,
who lost over $150,000.00. See R. Conway, Dec. Ex. 5 at 118; R. Conway, Dec. Ex. 6 at 13.

Initially, Holzer convinced the Rapillos to invest in an ill-fated project in Jacksonville,
Florida known as the Waverly I. See R. Conway, Dec. Ex. 5 at 73-75, 90; R. Conway, Dec. Ex. 4
at 54-56, 61. R. Conway, Dec. Ex. 6 at 4b. The project, a residential complex, was initiated by
Fingerhut/Holzer LLC and completely under the auspices of the partnership. /d.; R. Conway,
Dec, Ex, 5 at 76,84-85. Fingerhut/Holzer LLC promised the Rapillos that “it [was] a safe

investment that will triple your money.” R. Conway, Dec. Ex. 6 at 4b.
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 10 of 31

Upon the explicit instruction of Fingerhut/Holzer employee Jackie Cohen, a draft of
$300,000.00 was sent by the Rapillos on October 19, 2005 to the law firm of Foley & Lardner,
which acted as the repository for the money involved in the investments. See R. Conway, Dec.
Ex. 4 at 33, 54; R. Conway, Dec. Ex. 5 at 92-93; R. Conway, Dec. Ex. 6 at 6; R. Conway, Dec.
Ex. 4,

There is no question that the Rapillos were clients of the Fingerhut/Holzer partnership,
and that both Fingerhut and Holzer were vested with the authority or apparent authority to act on
behalf of the partnership. See R. Conway, Dec. Ex. 4 at 32-37; R. Conway, Dec, Ex. 6 at 18.
Holzer then recommended that the Rapillos send $600,000 more to invest in a movie theatre
intended to be built in Boca Raton, Florida. See R. Conway, Dec. Ex. 6 at 7. On or about
December 15, 2005, $600,000.00 was sent by the Rapillos to Holzer’s personal account also
upon the direction of Lisa Cohen of the Fingerhut/Holzer office. R. Conway, Dec. Ex. 5 at 98-
100; R. Conway, Dec, Ex. 9. $200,000.00 of this money (received by Holzer from the Rapillos)
was immediately transferred to Fingerhut, which he accepted. See R. Conway, Dec. Ex. 4 at 93-
94; R. Conway, Dec. Ex. 6 at 8, 9. Thus, Fingerhut participated directly in the Fingerhut/Holzer
fraud and converted the Rapillos money.

With a continuing need of money, Fingerhut/Holzer made a recommendation to the
Rapillos to invest in another portion of the same Jacksonville development, also known as the
Waverly II. See R. Conway, Dec. Ex. 6 at 9. On January 31, 2006, at the directions of
Fingerhut/Holzer another $200,000.00 investment was wired directly to the personal account of
David Holzer. See R. Conway, Dec. Ex. 4 at 97-100; R. Conway, Dec. Ex. 6 at 9; R. Conway,

Dec, Ex. 10.
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 11 of 31

Thereafter, another investment vehicle introduced by Fingerhut/Holzer was a stock
known as “V. Campus.” See R. Conway, Dec. Ex. 4 at 42-43; R. Conway, Dec. Ex. 6 at 10. V.
Campus, a for-profit program, stood for Virtual Campus, a progenitor of the present virtual
universities being operated online. /d, On May 23, 2006, per the advice of David Holzer and the
directions of Fingerhut Holzer LLC, an $800,000.00 draft was sent by the Rapillos directly to
Holzer for the purchase of V. Campus stock. See R. Conway, Dec. Ex. 5 at 110; R. Conway,
Dec. Ex. 4 at 99; R. Conway, Dec. Ex. 6 at 10; R. Conway, Dec. Ex. 11. Interestingly, on the
following day, May 24, 2006, both Holzer and Fingerhut (using the Rapillos’ money) made
purchases of V. Campus stock worth approximately $500,000.00. R. Conway, Dec. Ex. 4 at 99-
100. Ultimately, Holzer would deed over the $500,000.00 worth of V. Campus stock
purchased with the Rapillos’ money, thereby directly benefitting Fingerhut. See R. Conway,
Dec. Ex. 12; R. Conway, Dec. Ex. 13; R. Conway, Dec. Ex. 21. (emphasis added).

It is important to note, that while the fraud was being perpetrated, Fingerhut/Holzer LLC
sent the Rapillos annual K1s exhibiting their investment status with the partnership. See R.
Conway Dec. Ex. 17; R. Conway Dec. Ex. 18; R. Conway Dec. Ex. 6 at 4b. Additionally,
Fingerhut spoke to the Rapillos multiple times and even sent a letter to the Rapillos demanding
greater “investments”. See R. Conway, Dec. Ex. 7 at 4; R. Conway, Dec. Ex. 19. See R. Conway,
Dec. Ex. 6 at 6; R. Conway, Dec. Ex. 20. Specifically, when Heidi Rapillo contacted Fingerhut
and indicated she wanted to cash out their investments, Fingerhut expressed anger and stated that
if they cashed out, “[the Rapillos] would get ten cents on the dollar.” See R. Conway, Dec. Ex. 7
at 3, Fingerhut then contacted Heidi Rapillo again and demanded additional funds for the

Waverly project. See R. Conway, Dec. Ex. 7 at 4. When Rapillo indicated that there no
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 12 of 31

additional funds to invest, Fingerhut expressed anger and stated “I’ll zero you out.” See R.
Conway, Dec. Ex. 7 at 4.

Ultimately, the Fingerhut/Holzer fraud unraveled when Holzer issued a check in the sum
of $33,000,000.00 in a transaction that had no funds behind it. See R. Conway, Dec. Ex. 4 at
117-118. The fraudulent transaction was noted by J.P. Morgan which immediately froze the
accounts. /d. Fingerhut sought criminal counsel immediately and availed himself of the office of
Proskauer Rose LLP. and Mr. Thomas Wilson. See R. Conway, Dec. Ex. 4 at 118. It was
determined that Mr. Fingerhut would blame Holzer exclusively for the fraud perpetrated. See R.
Conway, Dec. Ex. 4 at 123. Additionally, a former investigator for the District Attorneys office,
Mr. Tobey Thatcher who presently runs an investigative firm, was hired to help Fingerhut
prepare his documentary history. See R. Conway, Dec. Ex. 4 at 49. Thatcher assisted Fingerhut
and Holzer in creating an Assignment of Equity which called for Holzer to surrender ownership
to Fingerhut of any and ali assets, including the V. Campus stock that had been purchased with
Rapillo money. See R. Conway, Dec. Ex. 4 at 101-102, 142-144; R. Conway, Dec. Ex. 12; R.
Conway, Dec. Ex. 13. Thereafter, Thatcher contacted former colleagues at the district attorneys
office and helped introduce Fingerhut as a victim and Holzer as the sole perpetrator. See R.
Conway, Dec. Ex. 4 at 146.

Holzer ultimately plead guilty to a series of crimes involving the theft of money from
innocent investors and was sentenced to five to fifteen years in prison. See R. Conway, Dec. Ex.
6 at 15-16; R. Conway, Dec. Ex. 5 at 102-106; R. Conway, Dec. Ex, 16. He served
approximately four years at the New York State Detention Facility at Coxsackie, before being
released. See R. Conway, Dec. Ex. 16. Interestingly, according to Fingerhut, the initial transfer of

funds between Fingerhut and Holzer predates the creation of Fingerhut/Holzer LLC. Id. at 83-
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 13 of 31

84. Fingerhut indicates that he did not know the absence of Holzer’s financial contribution until
2007, a full year after the distributions of Rapillos’ money into the Fingerhut Holzer enterprises.
Id. at 88-89,
Yet, Fingerhut also acknowledged that Holzer transferred $200,000 to him immediately
after the Rapillos transferred the $600,000.00 to Holzer:
Q. Did Mr. Fingerhut transfer $200,000 to your personal account on or about

December 15, 2005?
A. Ifits in the statement by DA then I would say yes. I mean I can’t tell you off

hand.
Id, at 93-94,

Additionally, Fingerhut readily admits that Holzer transferred $500,000 of V. Campus
stock that Holzer had purchased with Rapillo money to him. /d. at 101-102; R. Conway Dec. Ex.
21. Continuing in his acts of fraud, Fingerhut purchased portions of investments, clandestinely
not reviewing true ownership and admits to being a hidden investor, while publicly fronting Mr.
Holzer and privately sustaining this effort. When told that this constitutes fraud, Fingerhut
replied: “1H tell you again, this was a mistake alright.” /d. at 111-113 (emphasis added).

As a result of the fraud perpetrated by Fingerhut/Holzer and the entity defendants, the
Rapillos lost $1,900,000.00 of their money. See R. Conway, Dec. Ex. 6 at 4b, 17.

APPLICABLE LEGAL STANDARD

As this Court is well aware, under Federal Rules of Civil Procedure 56(c), summary
judgment may be granted only if all the submissions taken together show that there is no genuine
issue as to any material fact and that the movant is entitled to judgment as a matter of law.
Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986). A fact is

material if it “might affect the outcome of the suit under the governing law.” Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986). Additionally, a dispute is
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 14 of 31

genuine if “the evidence is such that a reasonable jury could return a verdict for the nonmoving
patty.” Jd.; see also Overton v. N.Y. State Div. of Military & Naval Affairs, 373 F.3d 83, 89 (2d
Cir.2004).

In assessing whether summary judgment is proper, the Court must construe the evidence
in the light most favorable to the non-moving party and must resolve all ambiguities and draw all
reasonable inferences against the movant. Williams v. R.H. Donnelley, Corp., 368 F.3d 123, 126
(2d Cir.2004) (quoting Dallas Aerospace, Inc. v. CIS Air Corp., 352 F.3d 775, 780 (2d
Cir,2003).

Additionally, the moving party bears the burden of demonstrating “the absence of a
genuine issue of material fact.” Celotex, 477 U.S. at 323; Tokio Marine & Fire Ins. Co. v. Fed.
Marine Terminal, Inc., 397 F. Supp. 2d 530, 533-34 (S.D.N.Y. 2005).

Thus, a movant’s failure to make a prima facie case requires a denial of the motion,
regardless of the sufficiency of the opposing papers Alvarez v. Prospect Hosp., 68 N.Y .2d 320,
508 N.Y.S.2d 923 (1986); See Fed. R.Civ.P. 56; Donahue v. Windsor Locks Bd. of Fire
Commissioners, 834 F.2d 54, 57 (2d Cir.1987).

As evidenced below, there are significant questions of fact which remain, and preclude a
finding for summary judgment. Accordingly, defendants’ motion for summary judgment must be
denied in its entirety.

ARGUMENT
I. THERE ARE SIGNIFICANT QUESTIONS OF FACT WHICH PRECLUDE
SUMMARY JUDGMENT.
Defendants broadly allege that there is “no factual basis for any claims against Barry

Fingerhut or any of the entity defendants.” Further, defendants make the unsubstantiated
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 15 of 31

assertion that “there is no dispute about the fact that Barry Fingerhut nor any of the entity
defendants made any representations at all to the Rapillos.” It should be noted that defendants
fail to actually cite to any admissible evidence in the record to support these accusations. Rather,
defendants’ entire argument regarding the lack of a factual basis for plaintiffs’ claim appears to
be based on defendants’ own conjecture. Given the extremely high threshold required for
summary judgment, defendants simply have not refuted any of plaintiffs’ claims legitimately.
This is especially true in light of the overwhelming evidence which shows that Fingerhut was
~ personally involved in soliciting and maintaining the money of the Rapillos and thus the entity
defendants (as well as Fingerhut) are liable for the damages caused to the Rapillos.

A. Existence of an Active Partnership

The concepts of partnership and joint venture are highly interrelated under New York
law, and “the legal ramifications of a joint venture are equivalent to those of a partnership.” JTEL
Containers Int'l Corp, v. Atlanttrafik Express Service, Ltd., 909 F.2d 698, 701 (2d Cir. 1989).
The elements required to establish either a joint venture or a partnership are substantially similar.
As this Court held in Kidz Cloz, Inc. v. Officially For Kids, Inc., No. 00 CIV. 6270 (DC), 2002
WL 392291, (S.D.N.Y. 2002), to establish the existence of a partnership, a plaintiff must show:
“(1) the parties’ sharing of profits and losses; (2) the parties’ joint control and management of the
business; (3) the contribution by each party of property, financial resources, effort, skill, or
knowledge to the business; and (4) the parties' intention to be partners.” See North Am. Knitting
Mills, Ine. v. Int'l Women's Apparel, Inc., 99 Civ. 4643(LAP), 2000 U.S. Dist. LEXIS 13139, at 3
(S.D.N.¥ 2000). Additionally, intent to become partners may be inferred from the fact that the
partners agreed to conduct business as partners. Kidz Cloz, Inc. v. Officially For Kids, Inc., No.

00 CIV. 6270 (DC).
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 16 of 31

Here, there is clear and direct evidence that Fingerhut and Holzer operated their business
as a partnership. See R. Conway, Dec. Ex. 4 at 47; R. Conway, Dec. Ex. 5 at 37. Both parties
concede that they set out to do business together as a partnership. They operated to the public as
a partnership with an office that advertised the Fingerhut/Holzer LLC name. See R. Conway,
Dec. Ex. 4 at 47; R. Conway, Dec. Ex, 5 at 37.

Moreover, both parties contributed funds and individual expertise to the LLC. Fingerhut
indicates that Holzer was responsible for the trading while Fingerhut created or discovered the
investment opportunities. See R. Conway, Dec. Ex. 4 at 27-29. It is clear by their direct
admissions that the parties intended to be partners with the stated goal of making money through
the investment process. See R. Conway, Dec. Ex. 5 at 43.

B. Fingerhut will not be able to hide behind the corporate veil of Fingerhut/Holzer LLC
It is important to note that can Fingerhut will not be able to seek protection by hiding

behind the guise of the LLC. Piercing the corporate veil is an equitable doctrine, and is necessary
to prevent fraud and the abuse of corporate separateness. SEC Investor Prot. Corp. v. Stratton
Oakmont, Inc., 234 B.R. 293 (Bankr. S.D.N.Y. 1999).

In fact, New York courts are highly reluctant to dispose of veil piercing claims on
summary judgment. See e.g. Ledy v. Wilson, 38 AD3d 214, 215 (ist Dept 2007). Moreover, for
veil-piercing purposes, New York courts have recognized a doctrine of equitable ownership.
Freeman v Complex Computing Co., inc., 119 F3d 1 044, 1051 (2d Cir. 1997). This doctrine
holds that an individual who exercises sufficient control over the corporation may be deemed an
“equitable owner," even in the event that the individual is not a shareholder of the corporation.
dee e.g, Guilder v. Corinth Constr. Corp., 235 AD2d 619, 651 NYS2d 706, 707 (3d Dept 1997).

Thus, if Fingerhut attempts to personally hide behind the LLC, the corporate veil will

ultimately be pierced. Fingerhut was personally intertwined with Fingerhut/Holzer LLC and it

10
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 17 of 31

impossible to trace what happened to the Rapillos’ money after it was given to Holzer, See R.
Conway, Dec. Ex. 4 at 113-114; R. Conway, Dec. Ex. 7 at 11-17. It is likely that Holzer put
these funds toward the partnership’s investment vehicles, or even gave the money directly to
Fingerhut. See R. Conway, Dec. Ex. 5 at 114. Further, the defendants fail to claim, with any
specificity, what happened to the Rapillos money aside from conceding that it did in fact
disappear. fd,

C, Respondeat Superior

Defendants claim that because the Rapillos have not previously alleged liability under the
theory of respondeat superior, that plaintiffs will be unable to rely on this theory going forward.
However, defendants misapprehend the law and the Second Circuit’s consistent rulings regarding
the applicability of this doctrine even when previously unplead.

The Second Circuit has held that a Court wil! consider a plaintiff's argument regarding
respondeat superior liability where there is evidence presented which implicates that theory,
even where a plaintiff failed to previously allege its elements in the complaint. See Marbury
Mgmt, Inc, v. Kohn, 629 F.2d 705, 711 (2d Cir.1980) (emphasis added). Specifically, the Court
in Marbury stated:

“While plaintiffs have not denominated their argument in this court and in the

district court a respondeat superior argument, and the complaint did not contain

the traditional allegation that [the broker] made representations relied upon in the

course of his employment with [the brokerage house], the evidence upon which

plaintiffs rely in this court, as in the district court, and the allegations of fact made

in the complaint are alike completely descriptive of the transactions and of the

roles of the actors in them, and they are the evidence and the allegations relevant

to a determination of the respondeat superior issue....” Id.; see Laro, Inc. v. Chase
Manhattan Bank, 866 F.Supp. 132, 139 (S.D.N.Y.1994)

Additionally, the Eastern District in [sik Jewelry v. Mars Media, Inc., 418 F. Supp. 2d

112, 129-30 (E.D.N.Y. 2005), held that respondeat superior may be utilized so long as the

sl
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 18 of 31

defendants are on full notice of the circumstances which give rise to plaintiff's theory under
respondeat superior. 629 F.2d at 712.

Further, Courts have held that a previously unplead theory of respondeat superior may be
utilized if the opposing party effectively engages the claim. Id. at 129-30; Rodriguez v. Doral
Mortgage Corp., 57 F.3d 1168, 1172 (1st Cir.1995).

Here, the defendants were placed on notice of the claim by disputing its applicability in a
“pretrial memorandum.” Isik Jewelry v. Mars Media, Inc., 418 F. Supp. 2d at 130. Moreover, the
absolute proof that defendants were impliedly on notice of this claim is that the defendants’
motion for summary judgment specifically disputes the applicability of respondeat superior by
stating that plaintiffs have failed to previously plead the theory of liability and now cannot seek
its relief. Defendants were also on notice of this claim based on the facts alleged in the summons
and complaint, and that plaintiffs would likely seek relief under respondeat superior. See R.
Conway, Dec. Ex. 1.

In the event that this Court finds Fingerhut was not directly attributable to the fraud
committed, the plaintiffs certainly have a valid claim under respondeat superior. Fingerhut and
Holzer both admit that fraud was committed and that the Rapillos money was stolen. See R.
Conway, Dec. Ex. 5 at 11; R. Conway Ex. 4 at 111-113. Moreover, it is clear that the fraud was
committed under the guise of the Fingerhut/Holzer LLC, and Fingerhut was a controlling
member of the LLC who provided most (if not all) of the capital contribution to the LLC and had
conversations with the Rapillos. See R. Conway, Dec. Ex. 4 at 11, 111-13; R. Conway Dec. Ex. 7
at 3.

Thus, plaintiffs are both entitled to assert liability under respondeat superior and should

prevail given the defendants actions.

12
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 19 of 31

D. Controlling Persons Theory

Additionally, plaintiffs can seek recover under a Controlling Persons theory. Similar to the
theory of respondeat superior, liability under a controlling person theory need not be previously
alleged. Moreover, the doctrine of controlling person does not necessarily supplant the doctrine of
respondeat superior. Marbury Mgmt., Inc. v. Kohn, 629 F.2d 705, 713 (2d Cir. 1980). Under the
theory of controlling person liability, a plaintiff may allege a primary § 10(b) violation by a person
controlled by the defendant, and culpable participation by the defendant in the perpetration of the
fraud. In re Scholastic Corp. Sec. Litig., 252 F.3d 63 (2d Cir. 2001). Securities Exchange Act of
1934, § 20{a), 15 U.S.C.A. § 78t(a).17 C.F.R. § 240.12b-2.

Specifically, the statute provides:

Every person who, directly or indirectly, controls any person liable under any

provision of this chapter or any rule or regulation thereunder shall also be liable

jointly and severally with and to the same extent as such controlled person to any

person to whom such controlled person is liable...” 15 U.S.C. § 78t(a). Jn re

Scholastic Corp. See, Litig,, 252 F.3d 63, 77 (2d Cir. 2001).

In Marbury, the Second Circuit found that despite plaintiffs failure to allege that
defendant was liable either as a controlling person or as a principal under the respondeat
superior doctrine, the Court was still free to assess liability under the theories as long as the
evidence, shows the factual elements of the transactions involved and thus invokes the
application of the law’s principles. Marbury Mgmt., Inc. v. Kohn, 629 F.2d 705, 712 (2d Cir.
1980); Fed.Rules Civ.Proc.15(b).

it is important to note that liability under the doctrine of controlling persons is a separate
inquiry from that of primary lability and provides an alternative basis of culpability. See SEC v.

Memt. Dynamics, Inc., 515 F.2d 801, 812 (2d Cir.1975). A plaintiff may allege a primary §10(b)

violation by a person controlled by the defendant, and culpable participation by the defendant in

13
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 20 of 31

the perpetration of the fraud. See SEC vy. First Jersey Sec., Inc., 101 F.3d 1450, 1472 (2d
Cir.1996),

Additionally, the Court in SEC. v. First Jersey Sec., Inc. held that a plaintiff must show a
primary violation by the controlled person and control of the primary violator by the targeted
defendant, in addition to showing that the controlling person was assisted in the fraud committed
by the controlled individual. 101 F.3d at 1470-75, See Marbury Management, Inc. v. Kohn, 629
F.2d at 715-16 ; Gordon v. Burr, 506 F.2d 1080, 1085 (2d Cir.1974). The power to “direct or
cause the direction of the management and policies of a person, whether through the ownership
of voting securities, by contract, or otherwise” is sufficient to show control for the purpose of
this doctrine. SEC. v. First Jersey Sec., Inc., 101 F.3d 1450, 1472-73 (2d Cir. 1996); 17 C.F.R. §
240.12b-2.

Further, the doctrine of controlling persons is available as an enforcement mechanism to
“any person to whom such controlled person is liable,’ see 15 U.S.C. § 78c(a)(9), See SEC v.
Management Dynamics, Inc., 515 F.2d 801, $12 (2d Cir,1975).

A defendant liable under the controlling persons theory will be held joint and severally
liable. See, ¢.g., Hateley v. SEC, 8 F.3d 653, 656 (9th Cir.1993), Here, in the event that Fingerhut
is not held directly, it is clear that Fingerhut can be considered a controlling person under Section
20(a). The fraud was committed by Holzer, by his own admission, and Fingerhut readily
controlled Holzer’s actions in the partnership. See R. Conway, Dec. Ex. 4 at 27-29, 47; R.
Conway, Dec. Ex. 5 at 114-117.

Fingerhut readily admits that he was the head of the partnership and that he was the
individual who came up with all of the investment ideas. See R. Conway, Dec. Ex. 4 at 27-29,

47, Moreover, Fingerhut states that he put nearly all of the capital into Fingerhut/Holzer LLC. Jd.

14
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 21 of 31

Thus, it is axiomatic that Fingerhut was in a position to control Holzer for the purposes of the
partnership. Under the controlling persons theory, Fingerhut must be held jointly and severally

liable for all damages caused to the Rapillos.
Hi. Fraud Under 10b and 10b-5.

To state a claim for fraud under Rule § 10(b) and Rule 10b—5, a plaintiff must allege (1) a
misrepresentation or omission of a material fact in connection with the purchase or sale of a
security; (2) scienter on the part of the defendant; (3) the plaintiffs reliance on the
misrepresentation; and (4) damage to the plaintiff resulting from the misrepresentation, /n re
Scholastic Corp. Sec. Litig., 252 F.3d 63, 69 (2d Cir.2001); Simon v. Weaver, 327 F. Supp. 2d
258, 262 (S.D.N.Y. 2004); Securities Exchange Act of 1934, § 10(b), 15 U.S.C.A. § 78)(b); 17
C.F.R. § 240.10b—5.

Plaintiffs can establish scienter in a securities fraud action by showing either that the
defendant acted with the required state of mind and knew of the fraud being committed, or by
showing that a defendant acted recklessly. Novak v. Kasaks, 216 F.3d 300 (2d Cir. 2000); in re
Scholastic Corp. Sec. Litig., 252 F.3d at 69; see also Securities Exchange Act of 1934, §
21D(b)(2), as amended, 15 U.S.C.A. § 78u—4(b)(2).

The Second Circuit stated “it is consistent with, if not demanded by, precedent in this
circuit to hold that reckless conduct satisfies the scienter requirement.” Rolf v. Blyth, Eastman
Dillon & Co., 570 F.2d 38, 46 (2d Cir. 1978) amended sub nom. Rolf v. Blyth Eastman Dillon &
Co., No. 77-7104, 1978 WL 4098 (2d Cir. May 22, 1978); Lanza v. Drexel & Co., 479 F.2d
1277, 1306 (2d Cir. 1973) (en banc). Expanding on the premises that recklessness establishes
scienter, the Second Circuit has also held that liability will attach where a plaintiff sufficiently

alleges that a defendants benefitted from purported fraud, had access to information suggesting

15
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 22 of 31

that statements were not accurate, or failed to check information they had duty to monitor.
See Rolf v. Blyth, Eastman Dillon & Co., 570 F.2d at 46 (emphasis added); Securities Exchange
Act of 1934, § 21D(b)(2), as amended, 15 U.S.C.A. § 78u-4(b)(2). Novak v. Kasaks, 216 F.3d
300, 308-09 (2d Cir, 2000).

The Second Circuit has also identified “badges of fraud,” which include the closeness of
relationship (here between Fingerhut and Holzer) can be used as circumstantial evidence of
actual fraudulent intent. See. Investor Prot. Corp. v. Stratton Oakmont, Inc., 234 B.R. 293
(Bankr. S.D.N.Y. 1999)

Here, it is well established that the defendants meet the four elements required to
establish fraud under Rule § 10(b) and Rule 10b-5. At the outset, it is clear that the
Fingerhut/Holzer lied about the nature of the investments. See R. Conway, Dec. Ex. 6 at 4b, 15;
R. Conway, Dec. Ex. 7 at 4. Fingerhut admits this as well as Holzer admission that he stole
money. See R. Conway, Dec. Ex. 5 at 11, 117; R. Conway Ex. 4 at 111-113.. The fact that he
served a prison sentence after pleading guilty to fraud is indicative of the misrepresentation made
to the Rapillos. See R. Conway, Dec. Ex. 5 at 117; R. Conway, Dec. Ex. 6 at 15. In fact, the
entire relationship between the Rapillos and Fingerhut/Holzer was a series of misrepresentations,
omissions of facts, and lies in an attempt to defraud the Rapillos. Additionally, the defendants
knowingly engaged in this fraud sufficient to establish the scienter required to support a claim
under Rule § 10(b) and Rule 10b-5. Fingerhut was clearly aware, if not actively involved, in the
theft of the Rapillos’ funds. He admits mistakes were made. He admits to knowing about the
various properties that the Rapillos money was to be invested in, and he spoke to the Rapillos

multiple times. See R. Conway, Dec. Ex. 7 at 4. At one point he actually threatened Heidi

16
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 23 of 31

Rapuillo that if she refused to place more money in the Waverly investment, that he would “zero
out” their account. Jd.

Even in the highly unlikely event that Fingerhut did not personally commit fraud, (which
the Rapillos maintain), Fingerhut knew or should have known that Holzer was acting
fraudulently. Fingerhut continually boasts that the LLC was essentially his business and that he
was responsible for nearly all of the capital contribution, and was the sole individual responsible
for creating and finding investment opportunities. See R. Conway, Dec. Ex. 5 at 27, 47.

It is virtually impossible that Fingerhut, with his claimed investment acumen, would not
notice the money disappearing from Fingerhut/Holzer while continually wiring money to Holzer
who used them for his own benefit. Either Fingerhut knew exactly what was happening or at the
very least Fingerhut should have known what was happening under the guise of the partnership.
Moreover, the Rapillos relied on the supposed expertise of Fingerhut/Holzer, Fingerhut
contacted Heidi Rapillo on multiple occasions, and he sent the Rapillos annual K-1s regarding
their investment status with Fingerhut/Holzer LLC. See R. Conway, Dec. Ex. 6 at 6. The
Rapillos were assured their investments were safe. See R. Conway, Dec. Ex. 6 at 4b, The
Rapillos suffered ‘irreparable harm, losing $1,900,000.00, as a direct result of defendants’
repeated lies. See R. Conway, Dec. Ex. 6 at 17.

Thus, Fingerhut, by virtue of being co-founder of Fingerhut/Holzer is responsible for the
fraud that was perpetrated whether by his own actions or recklessness. It is overwhelmingly clear
that the defendants meet all four elements to establish fraud under 10b and 10b-5, and thus
defendants motion for summary judgment must be denied.

YW. Fraud under the common law of New York

Similar to Rule 10b and 10b-5, under New York law, the elements of common law fraud

are: a material misrepresentation of an existing fact; scienter; justifiable reliance upon the

17
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 24 of 31

misrepresentation; and injury to the plaintiff as a result of such reliance. See Jdrees vy. American
University of the Caribbean, 546 F Supp. 1342, 1346 (8.D.N.Y., 1982); Miller v, Grigoli, 712 F.
Supp. 1087, 1095 (S.D.N.Y. 1989).

Similar to Rule 10b and 10b-5 allegations, the common law tort of fraud holds that
recklessness satisfies the requisite intent element of fraud. Additionally, the motive to commit
fraud may be established by the incentive to earn money. King Cnty., Washington v. IKB
Deutsche Industriebank AG, 751 F. Supp. 2d 652, 663 (S.D.N.Y. 2010). Here, the theft of the
Rapilios 1.9 million dollars is more than sufficient motive necessary to entice Fingerhut/Holzer
to commit fraud.

Thus, for the same exact reasons that the defendants were liable under Rule 10b and 10b-
5, defendants are also liable under New York common law.

IV. Fingerhut was active in aiding and abetting the fraud committed by Holzer

To state a claim for aiding and abetting fraud under New York law, a plaintiff must plead
facts showing: (1) the existence of a fraud; (2) defendant's knowledge of the fraud; and (3) that
the defendant provided substantial assistance to advance the fraud's commission. Cromer Fin.
Lid, v. Berger, 137 F. Supp. 2d 452; 470 (S.D.N.Y. 2001); Wight v. Bankamerica Corp., 219
F.3d 79, 91 (2d Cir.2000). The existence of fraud is established above.

Similar to 10b and 10b-5 fraud, recklessness may also establish the scienter element
required to show that a defendant was aiding and abetting the violation of another defendant.
Rolf v. Blyth, Eastman Dillon & Co., 570 F.2d 38, 47 (2d Cir. 1978) amended sub nom. Rolf v.
Blyth Eastman Dillon & Co., No. 77-7104, 1978 WL 4098 (2d Cir. May 22, 1978). In Rolf, the

Court held that recklessness exists where the danger is either known to the defendant or so

18
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 25 of 31

obvious that the defendant must have been aware of it. Jd. See State Street Co. v. Ernst, 278 N.Y.
104, 112, 15 N.E.2d 416, 418-19 (1938).

Additionally, to establish aiding and abetting the actor rendered substantial assistance in
the perpetrated fraud. New York Courts have held that “substantial assistance” exists where a
defendant assists, helps conceal, or by virtue of failing to act when required to do so enables the
fraud to proceed.” Nigerian Nat'l Petroleum Corp, v. Citibank, N.A., No. 98 Civ. 4960(MBM),
1999 WL 558141, (S.D.N.Y. 1999).

It has already been established that Fingerhut knew or should have known of the fraud
being perpetrated against the Rapillos. The fact that Fingerhut maintained his silence and did no
due diligence, while Holzer repeatedly stole the Rapillos’ money is sufficient to establish the
requisite participation required to state a claim under the theory of aiding and abetting.

Thus, in the event that Fingerhut is not personally liable for Holzer and the entity
defendants egregious acts of fraud, then it is clear that Fingerhut, by maintaining his silence,
aided and abetted Holzer in the acts of fraud perpetrated against the Rapillos.

V. Liability under Section 80-b, the Investment Advisers Act:

Defendants ‘argue that the Rapillos cannot recover against the defendants under the
Investment Advisers Act, because the defendants “were not investment advisers within the
meaning of the Advisers Act...” However, defendants’ misinterpret the the law. Defendants
principally rely on Kassover v. UBS AG, 619 F. Supp. 2d 28, 32-33 (S.D.N.Y. 2008) and Bogart
v, Shearson Lehman Bros., No. 91 CIV. 1036 (LBS)NG, 1993 WL 33643, (S.D.N.Y., 1993) to
assert their claim, despite both cases being entirely distinguishable from the facts at instant.

In Kassover, plaintiffs failed to show any facts to support their allegation that they

entered into any sort of arrangement with the defendant for the defendant to provide them with

19
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 26 of 31

investment advice. /d. Similarly, in Bogart, the Court found there was no agreement because
there was no indication that consideration or fee would be paid for the investment advice. No. 91
CIV. 1036 (LBS)NG, 1993 WL 33643, at (S.D.N.Y., 1993). These cases show only that a
contract may be used to establish an advisory relationship however, they are by no means proof
of whether an advisory relationship exists.

Defendant relies exclusively on two cases in an attempt to obfuscate the otherwise plain
meaning of the statute. The Act, in part, states:

(11) Investment adviser means any person who, for compensation, engages in the

business of advising others, either directly or through publications or writings, as

to the value of securities or as to the advisability of investing, purchasing, or

selling securities, or who for compensation and as part of a regular business,

issues or promulgates analysis or reports concerning securities.”

See Investment Advisers Act of 1940, §§ 206(1-3), 209(e) as amended 15 U.S.C.A. §§ 80b-6(1-3),
80b—9(e).

Further, despite defendants’ claims that no right of action exists under the Investment
Advisers Act, yet New York Courts have routinely held that there is an implied right of action
under the Act. Moses v. Burgin, 445 F.2d 369 (1 Cir.), cert. denied, 404 U.S. 994 (1971);
Herpich v. Wallace, 430 F.2d 792, 815 (5 Cir, 1970); Esplin v. Hirschi, 402 F.2d 94, 103 (10 Cir.
1968), cert. denied, 394 U.S. 928 (1969). Moreover, judicially implied rights of action also have
been found under Section 14(a) of the 1934 Act, and under the Public Utility Holding Company
Act of 1935, Abrahamson v. Fleschner, 568 F.2d 862, 872-73 (2d Cir. 1977).

Here, it has been established clear that Fingerhut/Holzer were holding themselves out to
be investment advisers, and Fingerhut/Holzer operated on the premises that a fee would be taken
for the advice it provided its investors. See R. Conway, Dec. Ex. 5 at 47-49. It is clear that the

Rapillos sought out Fingerhut/Holzer as investment advisers, and both Fingerhut and Holzer held

themselves out to be investment advisers. Whether Fingerhut or Holzer is more responsible for

20
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 27 of 31

the theft is immaterial given that they acted together, and that the Rapillos were robbed of their
money by the LLC. Thus, defendants are liable under the Investment Advisers Act and
defendants’ motion for summary judgment must be denied.

VI. BREACH OF FIDUCIARY DUTY

Defendants allege that a fiduciary relationship did not exist in the dealings between the
Rapillos and the defendants, yet defendants fail to actually cite any evidence in the record to
support this blanket assertion. As this Court is well aware, a fiduciary relationship exists “when
one person is under a duty to act for or to give advice for the benefit of another upon matters
within the scope of the relation.” Flickinger v. Harold C. Brown & Co., 947 F.2d 595, 599 (2d
Cir.1991). Additionally, New York courts typically focus on whether one person has reposed
trust or confidence in another who thereby gains a resulting superiority or influence over the
first.” Litton Indus., Inc. v. Lehman Bros. Kuhn Loeb, 767 F.Supp. 1220, 1231 (S.D.N.Y.1991).

To establish a breach of fiduciary duty, plaintiff need only show the following three
elements: The existence of a fiduciary duty; that the defendant breached said duty; and that
plaintiff suffered damages as a result of this breach. See Palmetto Partners, LP. v. ATW
Qualified Partners, LLC, 83 A.D.3d 804, 807-08, 921 N.Y.S.2d 260, 264-65 (2011); Rut v.
Young Adult Inst., Inc., 74 A.D.3d 776, 777, 901 N.Y.S.2d 715 (2010).

Here, these three elements are overwhelmingly established. Both Fingerhut and Holzer,
on behalf of the Fingerhut/Holzer LLC, solicited business from the Rapillos. See R. Conway,
Dec. Ex. 6 at 4b; R. Conway, Dec. Ex. 7 at 4. Fingerhut contacted Heidi Rapillo multiple times
demanding money and threated to “zero out” their account. See R. Conway, Dec. Ex. 7 at 4. The
Rapillos were solicited by Holzer to invest in multiple properties, almost all of them fraudulent.

See R. Conway, Dec. Ex. 6 at 4b-7. In fact, they were guaranteed that the investments would

21
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 28 of 31

yield net gains. See R. Conway, Dec. Ex. 6 at 4b. Moreover, Fingerhut/Holzer sent the Rapillos
annual Kls which evidenced their investor status. See R. Conway, Dec. Ex. 6 at 6; R. Conway,
Dec. Ex. 8, R. Conway, Dec. Ex. 9. Thus, it is clear that Fingerhut/Holzer built trust in the
Rapillos, and were extremely influential in the Rapillos’ decision making.

It is clear that not only a fiduciary duty existed, but the defendants breached that duty.
Moreover, the elements for a claim of aiding and abetting a breach of fiduciary duty under New
York law are: (1) a breach by a fiduciary of obligations to another, and (2) that the defendant
knowingly induced or participated in the breach. Ciccone v. Hersh, 530 F. Supp. 2d 574, 577
(S.D.N.Y. 2008) aff'd, 320 F. App'x 48 (2d Cir. 2009); Monaghan v. Ford Motor Co,., 71 A.D.3d
848, 897 N.Y.S.2d 482 (2010). As discussed above, substantial assistance occurs when a
defendant affirmatively assists, helps conceal or fails to act thereby enabling the breach to occur.
Monaghan vy. Ford Motor Co., 71 A.D.3d 848, 850, 897 N.Y.S.2d 482, 484-85 (2010). The Court
in Monaghan held that inaction of an alleged aider and abettor constitutes substantial assistance
if the defendant owes a fiduciary duty directly to the plaintiff. Jd.

Here, it is established that Fingerhut/Holzer LLC owed a fiduciary duty to the Rapillos,
The Rapillos were lured to Fingerhut/Holzer LLC and enticed by the “guarantee” offered by
Holzer. See R. Conway, Dec. Ex. 6 at 4b. Further, Pingerhut advised the Rapillos to the LLC’s
investment vehicles. See R. Conway, Dec. Ex. 7 at 3-4. Moreover, it is also established that
Holzer breached that duty. In fact, he served a four year prison sentence specifically for
breaching that duty. While the Rapillos allege that Fingerhut was breached a fiduciary duty, in
the alternative, Fingerhut aided and abetted Holzer in his breach. Fingerhut maintained his

silence and never checked the records which would show the fraud being committed, all while

22
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 29 of 31

Holzer robbed the Rapillos (amongst others) and stood by while Holzer gave very specific
directives to the Rapillos regarding the fraudulent investments.

It is clear that Fingerhut and the entity defendants breached a fiduciary duty owed to the
Rapillos. However, in the event this Court does not find that Fingerhut breached a duty, it is clear
that he aided and abetted Holzer in his breach of fiduciary duty. Thus, defendants’ motion
seeking summary judgment must be denied..

VIL. Conversion

Defendants simply assert without citing any evidence that no question of fact and that
“the evidence shows that Fingerhut and the entity defendants never received one penny of the
Rapillos’ money.” As this Court is aware, conversion is the “unauthorized assumption and
exercise of the right of ownership over goods belonging to another to the exclusion of the
owner's rights.” Vigilant Insurance Company of America v. Housing Authority of the City of El
Paso, Texas, 87 N.Y.2d 36, 44,637 N.Y.S.2d 342, (1995).

Here, Holzer admits that he stole money from the Rapillos and it is not denied that Holzer
illegally converted the Rapillos’ money. Rather, defendants’ argument is that Fingerhut and the
rest of the entity defendants should not be held liable for Holzer’s crimes. After the Rapillos
gave $600,000.00 to Holzer, $200,000.00 of that money was immediately given to Fingerhut.
See R. Conway, Dec. Ex. 4 at 93-94, R. Conway, Dec. Ex. 6 at 8, 9. Thus, Fingerhut participated
directly in the fraud and converted the Rapillos money. Fingerhut also compelled Holzer to deed
over $500,000.00 worth of V. Campus stock which was purchased with the Rapillos’ money. See
R. Conway Dec. Ex. 5 at 113; R. Conway, Dec. Ex. 14; R. Conway, Dec. Ex. 15; R. Conway,
Dec. Ex. 21 (showing the transfer of stocks from Holzer to Fingerhut. These stocks were

purchased by Holzer using Rapillo money).

23
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 30 of 31

Thus, it is clear that Fingerhut and Holzer converted the Rapillos and defendants’ motion

seeking summary judgment must be denied.
CONCLUSION

In the defendants’ Motion for Summary Judgment it is never claimed that Holzer did not
act fraudulently. Rather, it is readily admitted that Holzer stole the Rapillos’ money. The
defendants’ entire defense is postured on the assertion that because Holzer stole the Rapillos
money that Fingerhut and the other entity defendants can in not be implicated.

The issue for decision by this court is whether David Hoizer and Barry Fingerhut stood
together as partners in operating a business, the purpose of which was to commit fraud and
effectuating such fraud of multiple parties.

Fingerhut admits that he was the main contributor to the partnership, and admits to being
the individual who developed the core business practices and found the investment opportunities.
See R. Conway, Dec. Ex. 4 at 27-29, 47. Fingerhut spoke directly to the Rapillos regarding their
investments and sent them annual K-1 filings reflecting their investment status with
Fingerhut/Holzer LLC. R. Conway, Dec. Ex. 6 at 6.

In the highly unlikely event that Fingerhut was not directly responsible for the fraud
perpetrated, it is clear that he was reckless, and thereby equally liable, in his oversight of
Fingerhut/Holzer LLC and of Holzer individually as a representative of the LLC. Thus,
Fingerhut is also responsible for aiding and abetting the fraud perpetrated by Holzer.

In the event that Fingerhut is not deemed responsible by virtue of his recklessness,
Fingerhut and the entity defendants must be found liable under the theories of controlling
persons and respondeat superior. As established above, neither theory is required to have been

previously plead, especially in light of the fact that defendants are sufficiently on notice of these

24
Case 1:09-cv-10429-VSB Document 78 Filed 09/30/15 Page 31 of 31

claims. Holzer’s fraud was perpetrated as a member of the joint partnership, thus implicating
respondeat superior. Additionally, Fingerhut oversaw all business activities of the partnership,
which made him a controlling person under the statute, As noted above, any defendant found
liable under 20-a may be held jointly and severally liable with the active participant in the fraud.

Here, it is the Rapillos’ contention that Fingerhut is directly liable for the mass fraud
committed, however, even if Holzer was the only active participant in the fraud, Fingerhut must
be held liable under respondeat superior, controlling persons theory, as well as aiding and
abetting the actively fraudulent Holzer.

For all of the foregoing reasons, Plaintiffs respectfully request that this Court deny
defendants’ motion for summary judgment and for such other and further relief that this Court
deems just, equitable and proper.

Dated: New York, New York
September 30, 2015
Respectfully Yours,
Marshall, Conway & Bradley
45 Broadway — Suite 740

New York, NY 10038
Attorneys for Plaintiffs

py (CALEY =

Robert J. Conway (RIC- -2373)}—--

 

TO:  Folkenflik & McGerity
Attorneys for Defendants
1500 Broadway — 21st Floor
New York, New York 10036

David Holzer

c/o Pamela Lustig

500 Kappock Street
Bronx, New York 10463

25
